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                                              #:27313



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                   9                           UNITED STATES DISTRICT COURT
                  10                      CENTRAL DISTRICT OF CALIFORNIA
                  11                                 EASTERN DIVISION
                  12 CARTER BRYANT, an individual,            CASE NO. CV 04-9049 SGL (RNBx)
                  13              Plaintiff,                  Consolidated with
                                                              Case No. CV 04-09059
                  14        vs.                               Case No. CV 05-02727
                  15 MATTEL, INC., a Delaware                 Hon. Stephen G. Larson
                     corporation,
                  16                                          DECLARATION OF JOHN B. QUINN IN
                                  Defendant.                  SUPPORT OF SUPPLEMENT TO
                  17                                          MATTEL, INC.’S EX PARTE
                                                              APPLICATION TO COMPEL THE
                  18 AND CONSOLIDATED ACTIONS                 APPEARANCE FOR DEPOSITION OF
                                                              ANA CABRERA, BEATRIZ MORALES,
                  19                                          AND MARIA SALAZAR, REGARDING
                                                              THE DEPOSITION OF MEL WOODS
                  20
                                                              Date: February 4, 2008
                  21                                          Time: 10:00 a.m.
                                                              Place: Courtroom 1
                  22
                                                              Phase 1:
                  23                                          Discovery Cut-off:    January 28, 2008
                                                              Pre-trial Conference: April 21, 2008
                  24                                          Trial Date:           May 27, 2008
                  25
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                  27
                  28
07209/2372915.1
                                                   QUINN DEC ISO MATTEL'S SUPPLEMENT TO EX PARTE APPLICATION
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                                              #:27314



                   1                       DECLARATION OF JOHN B. QUINN
                   2               I, John B. Quinn, declare as follows:
                   3               1.    I am a member of the bar of the State of California and a partner
                   4 at Quinn Emanuel Urquhart Oliver & Hedges, LLP, attorneys for Mattel, Inc.
                   5 (“Mattel”). I make this declaration of personal, firsthand knowledge and, if called
                   6 and sworn as a witness, I could and would testify competently thereto.
                   7               2.    On January 23, 2008, I spoke with Mr. Woods. He stated that he
                   8 is willing to be deposed pursuant to subpoena on a date agreeable to all once the
                   9 Motion to Quash is resolved.
                  10
                  11               I declare under penalty of perjury under the laws of the United States of
                  12 America that the foregoing is true and correct.
                  13               Executed this 30th day of January, 2008, at Los Angeles, California.
                  14
                  15                                             /s/ John B. Quinn
                                                                John B. Quinn
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                                                  QUINN DEC ISO MATTEL'S SUPPLEMENT TO EX PARTE APPLICATION
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                                 #:27315



                                              PROOF OF SERVICE
  2          T am employed in the County of Los Angeles, State of California. I am aver the age of
      eighteen years and not a party to the within action; my business address is Now Legal Service,
  3   1301 W. 2nd Street, Suite 206, Los Angeles, CA 90026.

  4   On January 30, 2008, I served true copies of the following document(s) described as
      DECLARATION OF JOHN B. QUINN IN SUPPORT OF SUPPLEMENT TO MATTEL,
  5   INC.'S EX PARTE APPLICATION TO COMPEL THE APPEARANCE FOR
      DEPOSITION OF ANA CABRERA, BEATRIZ MORALES, AND MARIA SALAZAR,
  6   REGARDING THE DEPOSITION OF MEL WOODS on the parties in this action as follows:

  7              Maria Diaz                                   Pierce O'Donnell
                 Allred, Maroko & Goldberg                    550 South Hope Street
  8              6300 Wilshire BIvd. Suite 1500               Suite 1000
                 Los Angeles, CA 90048                        Los Angeles, CA 90071-2627
  9

 10

 11

 12   BY PERSONAL SERVICE: I delivered such envelope(s) by hand to the office of the person(s)
      being served.
 13
              I declare that I am employed in the office of a member of the bar of this Court at whose
 14   direction the service was made.

 15              Executed on January 30, 2008, at Los Angeles, California.

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                                                         NOW LEGAL -- Dave Quin ana
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